Case: 4:20-cv-00317-SEP Doc. #: 167 Filed: 06/22/20 Page: 1 of 4 PageID #: 17484




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MISSOURI


 FEDERAL TRADE COMMISSION,


                               Plaintiffs,

 v.

 PEABODY ENERGY CORPORATION,                          Civil Action No. 4:20-cv-00317

 and

 ARCH RESOURCES, INC.,

                               Defendants.




            DEFENDANTS’ MOTION TO COMPEL THIRD PARTY DISCOVERY

       Defendants Peabody Energy Corporation (“Peabody”) and Arch Resources, Inc. (“Arch”)

(collectively referred to as “Defendants”), pursuant to Rule 45 of the Federal Rules of Civil

Procedure and Local Rule 3.04, move to compel discovery sought by subpoena from third party

Western Coal Traffic League (“WCTL”) and in support state unto this Court as follows:

       1.      Defendants have directed a document subpoena to WCTL.

       2.      WCTL has served Defendants with their written objections to the subpoena and,

provided a privilege log (the “Privilege Log”).

       3.      Defendants seek discovery from WCTL of communications between counsel for

WCTL and employees of WCTL’s member companies and/or former members regarding the

proposed joint venture (the “JV”).

       4.      Defendants file herewith and incorporate by reference their memorandum of law

in support of their motion, and seek discovery of the documents identified in Exhibit 1.

                                                  1
Case: 4:20-cv-00317-SEP Doc. #: 167 Filed: 06/22/20 Page: 2 of 4 PageID #: 17485




       WHEREFORE, Defendants pray this Court enter an order overruling the objections of

WCTL to Defendants’ document subpoena, instructing WCTL to produce all documents

identified in Exhibit 1 for which the Court finds the privileges asserted do not apply or to which

an exception to the privileges applies, or instructing WCTL to submit such documents to the

Court for in camera review, and granting such further relief as may be just and proper.



Dated: June 22, 2020

                                             Respectfully submitted,


                                            /s/ Corey W. Roush


                                            Corey W. Roush, #466337 (DC)
                                            Gorav Jindal, #471059 (DC)
                                            J. Matthew Schmitten, #742690 (GA)
                                            Akin Gump Strauss Hauer & Feld LLP
                                            2001 K. Street, N.W.
                                            Washington, DC 20006
                                            (202) 887-4000
                                            croush@akingump.com
                                            gjindal@akingump.com
                                            mschmitten@akingump.com

                                            Cristina Thrasher, #5109954(NY)
                                            Akin Gump Strauss Hauer & Feld LLP
                                            One Bryant Park
                                            Bank of America Tower
                                            New York, NY 10036-6745
                                            (212) 872-1000
                                            cthrasher@akingump.com

                                            Edward D. Hassi, #1026776 (DC)
                                            Leah S. Martin, #1029757 (DC)
                                            Debevoise & Plimpton LLP 801
                                            Pennsylvania Avenue N.W.
                                            Washington, D.C. 20004
                                            (202) 383-8000
                                            thassi@debevoise.com

                                                 2
Case: 4:20-cv-00317-SEP Doc. #: 167 Filed: 06/22/20 Page: 3 of 4 PageID #: 17486




                                   lmartin@debevoise.com

                                   Michael Schaper, #4033486 (NY)
                                   J. Robert Abraham, #4935110 (NY)
                                   Tristan M. Ellis, #5405444 (NY)
                                   Debevoise & Plimpton LLP
                                   919 Third Avenue
                                   New York, NY 10022
                                   (212) 909-6000
                                   mschaper@debevoise.com
                                   jrabraham@debevoise.com
                                   tmellis@debevoise.com

                                   Catherine L. Hanaway, #41208(MO)
                                   Michael C. Martinich-Sauter, #66065(MO)
                                   Husch Blackwell, LLP
                                   190 Carondelet Plaza, Suite 600
                                   St. Louis, MO 63105
                                   (314) 480-1500
                                   catherine.hanaway@huschblackwell.com
                                   michael.martinich-sauter@huschblackwell.com

                                   Counsel for Defendant Peabody Energy Corporation




                                       3
Case: 4:20-cv-00317-SEP Doc. #: 167 Filed: 06/22/20 Page: 4 of 4 PageID #: 17487




                               CERTIFICATE OF SERVICE

       The undersigned certifies that on this 22nd day of June, 2020, the foregoing document
was served by electronic correspondence on all counsel of record.



                                                   /s/ Corey W. Roush


                                                   Corey W. Roush




                                               4
